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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

FILED

NOV 2 8 2005

UNITED STATES OF AMERICA,
v. : Criminal No. 05-0061 (ESH)
KEVIN POWELL,

Defendant.

 

MEMORANDUM OPINION

A jury convicted defendant Kevin Powell, Jt., of unlawful possession with intent to

distribute five grams or more of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) a

841(b)(1)(B) (ii); unlawful possession with intent to distribute cocaine base within 10

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school, in violation of 21 U.S.C. § 860(a); using, carrying, or possessing a firearm during a drug

trafficking offense, in violation of 18 U.S.C. § 924(c)(1); and unlawful possession of a firearm

and ammunition by a person convicted of a crime punishable by imprisonment for a term

exceeding one year, in violation of 18 U.S.C. §§ 922(g)(1) and 924(e)(1). At sentencing on

November 21, 2005, the Court imposed a sentence of 240 months’ incarceration with

eight

years’ supervised release. This Memorandum Opinion sets forth the reasons for that sentence.

BACKGROUND
Grouping all but his conviction under § 924(c), the presentence investigation

placed Powell at an offense level of 28. (PSIR at 6.) Based on his three prior state fe

convictions -- a December 3, 1996, conviction for possession of a controlled substance

. intent to distribute, a September 22, 1997, conviction for attempted distribution of 19

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e with

8 grams of

 

cocaine, and a May 4, 2000, conviction for possession with intent to distribute 25.6 grams of

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crack cocaine and 4.6 grams of powder -- the report calculated Powell’s criminal history as

 

 
 

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falling within category V. (/d. at 11.) This, when adjusted to account for the five-year

consecutive sentence required as a result of his conviction under § 924(c), placed Powell at a

range of 190 to 212 months. However, because Powell had been convicted of violatin

while “at least eighteen years old” and after “at least two” prior felony drug convictior

_ report classified, him as a career offender under Guidelines § 4B1.1 and recommended:

corresponding range of 360 months to life imprisonment -- a term exceeding Powell’s

unenhanced range by twelve years or more. (id. at 7.) See U.S.S.G, § 4B1.1(a), (c)(3).

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revised version of the report noted that Powell’s present conviction under § 922(g) and “three

previous convictions... for... serious drug offense[s]” satisfied the requirements of

the armed

career criminal statute, 18 U.S.C. § 924(e), and thus required a statutory minimum of fifteen

years’ imprisonment in addition to the five-year consecutive sentence of §-924(c). (PSIR at 7.)

See 18 U.S.C. 924(e)(1) (“In the case of a person who violates section 922(g) of this title and has

three previous convictions . . . for a violent felony or a serious drug offense, or both, ¢

on occasions different from one another, such person shall be fined under this title and.

imprisoned not less than fifteen years.”).

ommitted

The government requested a sentence of 360 months to life, submitting memoranda

defending the “wisdom and reasonableness of the Guidelines” and the appropriateness of the

1:100 crack to powder cocaine equivalency ratio. (See Government’s Mem. in Aid of

Sentencing at 6; Government’s Rep. to Def’s. Mem. in Aid of Sentencing.’ The defense,

 

¥ Since the Court relied on other factors to support its non-Guideline sentence, it has not

the quantities at issue in this case and the existence of a firearm, that disparity did not
meaningful impact on the Guideline sentence.

addressed the government’s argument regarding the disparity between crack and powder. Given

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without addressing the statutory minimums applicable to Powell,” contended that a sentence of

approximately 120 months would be reasonable. (Def’s. Mem. in Aid of Sentencing a

Court rejected both approaches, and for reasons explained below, it imposed a 240-m<¢

of imprisonment.

LEGAL ANALYSIS

As the result of United States v. Booker, 125 8. Ct. 738 (2005), the Sentencing

Guidelines are “effectively advisory.” Jd. at 757. While a court is still required to gix

to applicable Guidelines ranges, it is also obligated “to tailor the sentence in light of o
statutory concerns.” Jd. (citing 18 U.S.C. § 3553(a)). Pursuant to § 3553, a court mus
consider “the nature and circumstances of the offense and the history and characteristi
defendant” and “impose a sentence sufficient, but not greater than necessary ... to ref
seriousness of the offense, to promote respect for the law, and to provide just punishm

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offense;” “to afford adequate deterrence to criminal conduct;” “to protect the public fi

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crimes of the defendant;” and “to provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner.”
§ 3553(a)(2). In no case, however, may the Court impose a sentence less severe than

required under the applicable statutes.

 

#At sentencing, the defense objected to application of the armed career criminal statut
year minimum on the grounds that Powell’s September 22, 1997 Maryland convictior
attempted distribution of cocaine was not a “an offense under State law, involving
manufacturing, distributing, or possessing with intent to manufacture or distribute, a ¢
substance,” and did not therefore qualify under § 924(e). See 18 U.S.C. § 924(e)(2)(4
argument was rejected based. on United States v. Alexander, 331 F.3d 116, 131 .C.
where the Court held that an “earlier conviction of attempted possession ‘involv[ed]’

with intent to distribute a controlled substance” and was thus properly considered in 1

mandatory minimum sentence under 18 U.S.C. § 924(e)(1). Jd. (emphasis added).

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Here, consideration of these factors leads the Court to conclude that a sentence.of 360
months to life imprisonment would be significantly “greater than necessary” to satisfy the

purposes set forth in § 3553(a)2 First, application of the career offender guideline --

 

effectively places Powell within criminal history category VI and at an offense level of 37, see
U.S.S.G. § 4B1.1(c)(3) -- substantially overstates Powell’s criminal history and the na ure of his
present offense. While Powell has now been convicted of four drug-related felonies, cach
involved small quantities of drugs and none involved any claim of violence. See PSIR at 5, 9-10
(listing drug amounts of 19.8 grams of cocaine in September of 1997, 25.6 grams of ee
cocaine and 4.6 grams of powder cocaine in May of 2000, and 15.4 grams of crack cocaine
here). This is not a case involving a defendant prosecuted for moving significant quantities of
career offender provision. See U.S.S.G, § 4B1.1(a) (defining “career offender” as including all
adults convicted of a drug felony after having received “at least two prior felony convictions of
...acontrolled substance offense,” without reference to the circumstances of the present or
prior offenses); United States v. Carvajal, 2005 WL 476125 (S.D.N.Y. 2005) (“[T]he| Guidelines
for Career Offenders are the same regardless of the severity of the crimes, the dangers

posed to

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drugs as part of a larger distribution conspiracy, an important fact that is totally ignored by the
victims’ and bystanders’ lives, and other appropriate criteria.”), United States v.

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F.Supp 2d 873, 875 (E.D. Wis. 2005) (declining to impose a punishment within the c

offender guideline range where defendant’s previous convictions involved small amounts of

 

+ Tn its Memorandum in Aid of Sentencing, the defense requested that the Court grant a
downward departure under Guidelines § 4A1.3 based on the overrepresentation of Powell’s
criminal history and likelihood of recidivism. Because Powell qualifies as an armed career
criminal, a § 4A1.3 departure is not available in this case. See U.S.S.G. § 4A1.3(6)(2)(B) (“A
downward departure under this subsection is prohibited for ... an armed career criminal within
the meaning of § 4B1.4.”); id. § 4B1.4 (“A defendant who is subject to an enhanced sentence
under the provisions of 18 U.S.C. § 924(e) is an armed career criminal.”).

 

 
 

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drugs and where defendant, though part of a “large” cocaine distribution conspiracy, w,

relatively small player dealing only with a single codefendant). Furthermore, applicati

career offender guideline in this case would have the effect of counting Powell’s prior

twice -- once under the armed career criminal statute, 18 U.S.C. § 924(e), which conve
Powell’s three prior felonies and his present conviction under § 922(g) into a fifteen-y

mandatory minimum sentence, and again under the career offender guideline, U.S.8.G

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which increases the applicable minimum to thirty years based on Powell’s commission of two

qualifying drug offenses prior to his present conviction under § 924(c). Finally, Powe
additional punishment in Maryland for having violated the terms of his probation by c
the present offenses, a factor ignored by the Guidelines scheme for calculating his crin
history score. (See PSIR at 11.) In light of the foregoing, the Court determines. that n«
-Powell’s criminal history nor his present offense is sufficient to merit the additional tv
more years of imprisonment resulting from an application of the career offender provi
case. See United States v. Phelps, 366 F.Supp 2d 580, 590 (E.D. Tenn. 2005) (“Lt is
unusual that the technical definition[] of .. . ‘controlled substance offense’ operate[s]
some defendants to not just substantial, but extraordinary increases in their advisory G
ranges.’”).
Relatedly, the term of imprisonment required under the career offender guidel
reflective of Powell’s likelihood of recidivism. Notably, as the United States Sentenc
Commission concluded in its 2004 report, Fifteen Years of Guidelines Sentencing, “p
analysis of the recidivism rates of drug trafficking offenders sentenced under the care

guideline based on prior drug convictions shows that their rates are much lower than ¢

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offenders who are assigned to criminal history category VI.” United States Sentencin
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‘sufficient to reflect the seriousness of Powell’s offense and his criminal history, prom|

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|. Fifteen Years of Guidelines Sentencing: An Assessment of How Well the Federal Criminal |

Justice System is Achieving the Goals of Sentencing Reform, at 133-34 (Nov. 2004) (“The

overall rate of recidivism for category VI offenders two years after release from prison is 55

percent... [bJut the rate for offenders qualifying only on the basis of prior drug offenses is only

27 percent.”). Moreover, due to Powell’s personal situation, there is a far lesser risk of

recidivism than is presumed by the career offender guideline. Like his mother and other

~ -members of his family, Powell is afflicted with a degenerative neurological disorder -5 Charcot-
-Marie-Tooth Disease -- entailing a progressive, debilitating weakening of his limbs. (See PSIR

at 13.) Powell has already suffered difficulties with his legs as a result of the illness, and at the

end of the twenty-year sentence required here, Powell will be 47 years old and far more limited

by his disease.

CONCLUSION

For these reasons, the Court has concluded that a non-Guideline sentence of twenty years’

imprisonment and eight years’ supervised release -- the statutory mininium -- is more

for the law, protect the public and meet the goal of deterrence.

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ELLEN SEGAL HUVELLE

United States District Judge

Date: November 28, 2005

 

 
